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                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF DELAWARE


In re                                                  Chapter 11

OPEN ROAD FILMS, LLC, a Delaware                       Case No.: 18-12012 (LSS)
limited liability company, et al.,1
                                                       (Jointly Administered)
                          Debtors.
                                                       Ref. Docket Nos. 9 and 50

                          NOTICE OF FILING OF (I) PROPOSED SALE
                           ORDER AND (II) PROPOSED FORM APA

               PLEASE TAKE NOTICE that on September 6, 2018, the above-captioned
debtors and debtors-in-possession (collectively, the “Debtors”) filed the Debtors’ Motion for
Orders: (A)(I) Establishing Bid and Sale Procedures Relating to the Sale of Substantially All of
the Debtors’ Assets, (II) Authorizing the Debtors to Enter Into an Asset Purchase Agreement
with Stalking Horse Bidder, (III) Establishing and Approving Procedures Relating to the
Assumption, Assignment and Sale of Certain Executory Contracts and Unexpired Leases,
Including Notice of Proposed Cure Amounts and (IV) Scheduling a Hearing to Consider the
Proposed Sale and (B)(I) Approving the Sale of Substantially All of the Debtors’ Assets,
(II) Authorizing the Assumption, Assignment and Sale of Certain Executory Contracts and
Unexpired Leases, and (III) Granting Certain Related Relief [Docket No. 9] (the “Motion”).2

              PLEASE TAKE FURTHER NOTICE that a copy of the proposed Sale Order,
which is Exhibit II to the Motion, is attached hereto as Exhibit 1.

              PLEASE TAKE FURTHER NOTICE that a copy of the proposed Form APA,
which is Exhibit III to the Motion, is attached hereto as Exhibit 2.

               PLEASE TAKE FURTHER NOTICE that the proposed Sale Order and the
proposed Form APA remain subject to continuing review and negotiation by and among the
Debtors, the Agent, and the official committee of unsecured creditors appointed in these chapter
11 cases, and therefore the Debtors reserve all rights to revise the proposed Sale Order and the
proposed Form APA, and all rights of such parties with respect to the same are reserved.




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    The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
    Open Road Films, LLC (4435-Del.); Open Road Releasing, LLC (4736-Del.); OR Productions LLC
    (5873-Del.); Briarcliff LLC (7304-Del.); Open Road International LLC (4109-Del.); and Empire Productions
    LLC (9375-Del.). The Debtors’ address is 2049 Century Park East, 4th Floor, Los Angeles, CA 90067.
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    Capitalized terms used but not otherwise defined herein shall have the meanings given to them in the Motion.



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